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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 

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ALICIA BOYKIN, ;

\ Plaintiff, ORDER

PINE VALLEY CENTER, LLC, ; 21 CV 8025 (VB)
Defendant. :

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On September 27, 2021, plaintiff commenced the instant action against defendant. (Doc.
#1),

On September 28, 2021, the Clerk of Court issued summons as to defendant. (Doc. #4).

On October 20, 2021, plaintiff docketed proof of service indicating service on defendant
on October 1, 2021. (Doc. #6). Accordingly, defendant had until October 22, 2021, to respond
to the complaint. See Fed. R. Civ. P. 12(a)(1)(A)Q).

To date, defendant has neither appeared in this action nor answered, moved, or otherwise
responded to the complaint.

Accordingly, provided that defendant remains in default, plaintiff is ORDERED to seek a
certificate of default as to defendant by November 16, 2021, and thereafter to move, by order to
show cause and in accordance with the Court’s Individual Practices, for default judgment against
defendant by November 30, 2021. If plaintiff fails to satisfy either deadline, the Court may
dismiss the case without prejudice for failure to prosecute or failure to comply with court
orders. Fed. R. Civ. P. 41(b).

Dated: November 1, 2021
White Plains, NY
SO ORDERED:

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Vincent L. Briccetti
United States District Judge

 
